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 5
                               UNITED STATES DISTRICT COURT
 6                            EASTERN DISTRICT OF WASHINGTON
 7
       UNITED STATES OF AMERICA,                )
 8                                              )     No. CR-05-162-FVS-6
                         Plaintiff,             )
 9                                              )     ORDER GRANTING MOTION TO
       v.                                       )     MODIFY CONDITIONS OF RELEASE
10                                              )
       JUSTIN ALAN JONES,                       )
11                                              )
                         Defendant.             )
12                                              )

13          BEFORE THE COURT is Defendant’s Motion to Modify Conditions of

14    Release filed October 1, 2006, and noted for October 23, 2006. This

15    chambers was not made aware of the Motion and notification did not

16    reach the undersigned until December 4, 2006, but it appears the

17    Motion was timely served on the United States.

18          In the Motion, Defendant seeks permission to travel outside the

19    district with his family.         As there has been no objection by the

20    United States, the Motion (Ct. Rec. 385) is GRANTED; provided,

21    however, that Defendant, nevertheless, must seek permission from

22    Probation Officer Anne Sauther prior to any travel.                     All other

23    conditions of release remain in place.

24          IT IS SO ORDERED.

25          DATED December 4, 2006.

26
27                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
28


      ORDER GRANTING MOTION TO MODIFY CONDITIONS OF RELEASE                 - 1
